               Case 22-10263-KBO            Doc 221-1        Filed 05/02/22       Page 1 of 115




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                           Chapter 11
    MD HELICOPTERS, INC., et al.,1                   Case No. 22-10263 (KBO)

                             Debtor.                 (Jointly Administered)
                                                     Re: Docket Nos. 205




                  DECLARATION OF DENNIS C. O’DONNELL IN SUPPORT
                 OF THE NETHERLANDS PHASE ONE STATEMENT UNDER
                              THE FINAL DIP ORDER



                   I, DENNIS C. O’DONNELL, make this declaration pursuant to 28 U.S.C. § 1746:

                   1.      I am a partner at the law firm DLA Piper LLP (US) ("DLA Piper"), which

maintains an office for the practice of law at 1251 Avenue of the Americas, New York, New York

10020. I am duly authorized to practice law in the State of New York and the Southern and Eastern

Districts of New York, and I have been admitted pro hac vice for purposes of these chapter 11

cases [D.I. 79]. Unless otherwise stated, I am familiar with the matters set forth in this declaration

(the “Declaration”).

                   2.      More specifically, I submit this Declaration in support of The Netherlands

Phase One Statement Under the Final DIP Order (the “Netherlands Phase One Statement”), to

make available for the Court’s consideration documents referenced in the Netherlands Phase One

Statement.



1
       The two debtors in these chapter 11 cases (the “Chapter 11 Cases”) are MD Helicopters, Inc. (“MDHI”) and
       Monterrey Aerospace, LLC (‘Monterrey,” and together with MDHI, the “Debtors”), and their address is 4555 E.
       McDowell Road, Mesa, AZ 85215. The last four digits of MDHI’s taxpayer identification number are 4088.
       Monterrey has not been assigned a taxpayer identification number as of the Petition Date.
           Case 22-10263-KBO             Doc 221-1       Filed 05/02/22       Page 2 of 115




               3.       Annexed hereto as Exhibit “A” is a true and correct copy of the Judgment

issued by the Superior Court of Maricopa County (the “Arizona Court”) in favor of the Netherlands

on November 13, 2018, in the amount of $15,074,750, including interest and fees.

               4.       Annexed hereto as Exhibit “B” is a true and correct copy of the December

20, 2020 decision of the Arizona Supreme Court in State of the Netherlands v. MD Helicopters,

Inc., 250 Ariz. 235, 478 P.3d 230 (2020), affirming the Arizona Court’s August 2018 grant of

summary judgment to the Netherlands.

               5.       Annexed hereto as Exhibit “C” is a true and correct copy of the Final

Judgment on Mandate issued by the Arizona Court in favor of the Netherlands on August 3, 2021,

in the amount of $15,539,198.35, including interest and fees.

               6.       Annexed hereto as Exhibit “D is a true and correct copy of a map, with the

caption “Falcon Field, Mesa, Arizona,” which, upon information and belief, shows all the real

property and improvements leased and/or owned by the Debtors in Maricopa County, Arizona,

and a Google Maps screenshot of the same. The map is a public document available for download

from the Falcon Field Airport website.2 The map has been modified with a red border and text

indicating the “area of enlargement,” as well as enlarging certain building descriptions. The

Google Maps screenshot is taken from Google’s free, online maps and satellite imaging website,3

and is a satellite image of the real property and improvements leased and/or owned by the Debtors

in Maricopa County, Arizona.




2
       https://www.falconfieldairport.com/about-us/documents-forms/airport-master-plan
3
       https://www.google.com/maps/place/MD+Helicopters+Inc/@33.4644737,-
       111.7311468,17z/data=!3m1!4b1!4m5!3m4!1s0x872ba44cebd456ff:0xe56d637fd33cfd9b!8m2!3d33.4643
       387!4d-111.7291571
           Case 22-10263-KBO          Doc 221-1      Filed 05/02/22        Page 3 of 115




               7.      Annexed hereto as Exhibit “E” is a true and correct copy of Commercial

Lease entered into between the City of Mesa and Hughes Helicopter, Inc. on March 28, 1983, for

the property on which the Debtors’ headquarters is located.

               8.      Annexed hereto as Exhibit “F” is a true and correct copy of the “Assignment

of Commercial Lease” filed by Mellon Bank in the Maricopa Recorder’s Office on March 30,

1983.

               9.      Annexed hereto as Exhibit “G” is a true and correct copy of the

“Assignment of Beneficial Interest under Deed of Trust” filed by Mellon Bank in Maricopa

Recorder’s Office on January 27, 1984.

               10.      Annexed hereto as Exhibit “H” is a true and correct copy of the

Reassignment of Commercial Lease filed by the Arizona State Retirement System on March 14,

1984. Annexed hereto as Exhibit “I” are true and correct copies of the Quitclaim Deeds relating

to improvements subject to the Mesa Ground Lease filed by the City of Mesa on January 31, 2007.

               11.     Annexed hereto as Exhibit “J” is a true and correct copy of UCC Financing

Statement filed on behalf of Ankura Trust Company, LLC, as co-Agent against MD Helicopters,

Inc. in the office of the Arizona Secretary of State on January 8, 2021.

               12.     Annexed hereto as Exhibit “K” is a true and correct copy of the “Condition

of Title Report” relating to MD Helicopter, Inc. and the Mesa Real Estate Assets issued by Fidelity

National Title Insurance Company on April 19, 2022.
           Case 22-10263-KBO          Doc 221-1     Filed 05/02/22     Page 4 of 115




               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge, information, and belief.

Executed on May 2, 2022



                                                     /s/ Dennis C. O’Donnell
                                                     Dennis C. O’Donnell
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 5 of 115




                        Exhibit A




                            4
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 6 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 7 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 8 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 9 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 10 of 115




                         Exhibit B




                            4
                 Case 22-10263-KBO             Doc 221-1       Filed 05/02/22        Page 11 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230




                   250 Ariz. 235                                 [1]     Statutes   Intent
              Supreme Court of Arizona.
                                                                         When interpreting statutes, Supreme Court’s
      The STATE OF THE NETHERLANDS,                                      goal is to effectuate the legislature’s intent.
               Plaintiff/Appellee,
                        v.
           MD HELICOPTERS, INC.,
              Defendant/Appellant.

                   No. CV-20-0112-PR
                           |                                     [2]     Statutes   Construction based on multiple
                Filed December 30, 2020                                  factors

                                                                         When interpreting statutes so as to effectuate the
                                                                         legislature’s intent, Supreme Court interprets
Synopsis
                                                                         statutory language in view of the entire text,
Background: The Netherlands, as assignee of Dutch
                                                                         considering the context and related statutes on
judgment in favor of its National Police Services Agency,
                                                                         the same subject.
brought action seeking recognition of the judgment under
the Uniform Foreign-Country Money Judgments
Recognition Act and common law principles. The
Superior Court, Maricopa County, No. CV2015-095127,
Joshua Rogers, J., entered summary judgment in favor of
the Netherlands, recognizing the judgment and permitting
its enforcement. Judgment debtor appealed, and the Court         [3]     Statutes Absence of Ambiguity; Application
of Appeals, 248 Ariz. 533, 462 P.3d 1038, affirmed.                      of Clear or Unambiguous Statute or Language
Judgment debtor sought review.
                                                                         When interpreting a statute, if the statutory
                                                                         language is clear and has only one reasonable
                                                                         meaning, Supreme Court will apply that
Holdings: The Supreme Court, Scott Timmer, Vice C.J.,
                                                                         meaning.
held that:
[1]
   term “law,” in Act’s reciprocity provision, was broad
term that included a foreign country’s jurisprudence, and
[2]
   jurisprudential law of the Netherlands provided for
recognition of foreign judgments in a manner similar to          [4]     Statutes   In general; factors considered
the Act.
                                                                         When interpreting a statute, if statutory language
                                                                         yields more than one reasonable meaning,
Affirmed.                                                                Supreme Court applies secondary interpretive
                                                                         principles, such as examining the statute’s
Montgomery, J., filed dissenting opinion in which Bolick,                subject matter, historical background, effect and
J., joined.                                                              consequences, and spirit and purpose.
Procedural Posture(s): Petition for Discretionary
Review; On Appeal; Motion for Attorney’s Fees; Motion
for Summary Judgment; Other.


                                                                 [5]     Statutes   Particular Words and Phrases
 West Headnotes (10)

               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                       1
                Case 22-10263-KBO                Doc 221-1     Filed 05/02/22        Page 12 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

       Statutory term “law” may have a broad or
       narrow meaning, depending on context and
       legislative intent; the term can include
       constitutions, statutes, the common law, and the
       various rules of court or an act of the legislature       [8]     Judgment     Judgments of Courts of Foreign
       only.                                                             Countries

                                                                         Phrase “a reciprocal law related to
                                                                         foreign-country    money     judgments,”    in
                                                                         reciprocity     provision      of     Uniform
                                                                         Foreign-Country Money Judgments Recognition
                                                                         Act, means a foreign country’s formally
[6]    Judgment     Judgments of Courts of Foreign                       recognized and enforced rule that authorizes
       Countries                                                         recognition of Arizona money judgments; that
                                                                         rule can be established by a foreign country’s
       Term “law,” in provision of Uniform                               caselaw.        Ariz. Rev. Stat. Ann. §
       Foreign-Country Money Judgments Recognition                       12-3252(B)(2).
       Act excluding from the Act judgments
       originating from a foreign country that has not
       “adopted or enacted a reciprocal law,” was
       broad term that included a foreign country’s
       jurisprudence, and was not limited to legislative
       enactments; limiting term to enactments would
       render statute’s use of word “adopted”                    [9]     Judgment     Judgments of Courts of Foreign
       superfluous, statute did not include language                     Countries
       limiting term to legislative acts or treaties,
       despite legislature’s undisputed knowledge that                   To avoid exclusion from the Uniform
       “law” could include more than statutes, and                       Foreign-Country Money Judgments Recognition
       restricting scope of term would not further                       Act under Act’s reciprocity provision, the
       reciprocity provision’s purpose of ensuring                       foreign county’s law must recognize Arizona
       foreign countries would recognize Arizona                         judgments in a manner similar to the Act; in
       judgments under similar circumstances.      Ariz.                 essence, reciprocity provision provides that an
       Rev. Stat. Ann. § 12-3252(B)(2).                                  Arizona court will only recognize a
                                                                         foreign-country money judgment if it is assured
                                                                         that the rendering foreign country would
                                                                         recognize an Arizona judgment if circumstances
                                                                         were reversed.       Ariz. Rev. Stat. Ann. §
                                                                         12-3252(B)(2).
[7]    Judgment     Judgments of Courts of Foreign
       Countries

       Term “foreign country,” in provision of Uniform
       Foreign-Country Money Judgments Recognition
       Act excluding from the Act judgments                      [10]    Judgment     Judgments of Courts of Foreign
       originating from a “foreign country that has not                  Countries
       adopted or enacted a reciprocal law,” did not
       exclude foreign courts, so as to require the                      The law of the Netherlands provided for
       reciprocal law to be a legislative enactment or                   recognition of foreign judgments in a manner
       treaty rather than jurisprudence; term was                        similar to the Uniform Foreign-Country Money
       defined to refer to a government, which                           Judgments Recognition Act, and thus Act’s
       necessarily included courts. Ariz. Rev. Stat.                     reciprocity provision did not bar recognition of
       Ann. §§ 12-3251(1),      12-3252(B)(2).                           Dutch money judgment under the Act; though
                                                                         Dutch Code of Civil Procedure generally barred
                                                                         enforcement of foreign judgments, it authorized
               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                     2
                 Case 22-10263-KBO              Doc 221-1      Filed 05/02/22         Page 13 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

        Dutch courts to settle such matters de novo, and         considered. We hold that court-authorized procedures
        Dutch courts had developed, through caselaw,             recognizing foreign-country money judgments in a
        principles for recognition of foreign judgments          manner similar to the Act can satisfy the reciprocity
        that were similar to the Act.    Ariz. Rev. Stat.        requirement.
        Ann. § 12-3252(B)(2).


                                                                                      BACKGROUND

                                                                 ¶2 The District Court of The Hague entered a monetary
                                                                 judgment in favor of the **232 *237 Netherlands’
**231 Appeal from the Superior Court in Maricopa                 National Police Services Agency and against MD
County, The Honorable Joshua D. Rogers, Judge, The               Helicopters, Inc. (“MDHI”) in a breach-of-contract
Honorable Margaret Benny, Judge Pro Tempore, No.                 lawsuit. The Hague Court of Appeal upheld the judgment.
CV2015-095127. AFFIRMED                                          The State of the Netherlands, as assignee of the
                                                                 judgment, filed suit in the superior court in Maricopa
Opinion of the Court of Appeals, Division One 248 Ariz.          County seeking recognition of the Dutch judgment under
533, 462 P.3d 1038 (App. 2020). AFFIRMED                         both the Act and common law principles. The superior
                                                                 court entered summary judgment for the Netherlands,
Attorneys and Law Firms                                          recognizing the judgment under the Act and permitting its
                                                                 enforcement in Arizona.
James E. Berger (argued), King & Spalding LLP, New
York, NY; Daniel G. Dowd, Cindy C. Albracht-Crogan,              ¶3 The court of appeals affirmed. State of the Netherlands
Stacey F. Gottlieb, Kevin C. Moyer, Cohen Dowd                   v. MD Helicopters, Inc., 248 Ariz. 533, 462 P.3d 1038
Quigley P.C., Phoenix, Attorneys for The State of the            (App. 2020). In doing so, it rejected MDHI’s argument
Netherlands                                                      that the Act did not apply here because the Netherlands
                                                                 did not have a reciprocal, similar legislative act. Id. at 539
Karl M. Tilleman (argued), Erin Bradham, Douglas D.              ¶ 16, 462 P.3d at 1044. The court concluded that the
Janicik, Dentons US LLP, Phoenix, Attorneys for MD               Netherlands’ legislatively enacted code of civil procedure,
Helicopters, Inc.                                                along with the court decisions applying it, combined to
                                                                 satisfy that requirement. Id. at 541–42 ¶¶ 23–24, 462 P.3d
C. Bradley Vynalek, Brian A. Howie, Lauren Elliot Stine,         at 1046–47. Because the court based its decision on the
Daniel G. Roberts, Quarles & Brady LLP, Phoenix,                 Act, it did not address whether common law principles
Attorneys for Amicus Curiae Arizona Bankers                      would also have authorized recognition of the judgment.
Association and Canada Arizona Business Council                  Id. at 546 ¶ 41, 462 P.3d at 1051.
VICE CHIEF JUSTICE TIMMER authored the opinion
                                                                 ¶4 We granted review to decide whether the Act’s
of the Court, in which JUSTICES GOULD, LOPEZ,
                                                                 reciprocity requirement is satisfied when a foreign
BEENE, and JUDGE EPPICH joined.* JUSTICE
                                                                 country’s caselaw recognizes judgments in a manner that
MONTGOMERY authored a dissenting opinion in which
                                                                 is similar to the Act, an issue of statewide importance.
JUSTICE BOLICK joined.

Opinion

                                                                                       DISCUSSION
VICE CHIEF JUSTICE TIMMER, opinion of the Court:
                                                                 ¶5 Arizona does not recognize or permit enforcement of a
                                                                 foreign-country money judgment unless the judgment
¶1 Arizona’s version of the Uniform Foreign-Country
                                                                 creditor first domesticates that judgment in an Arizona
Money Judgments Recognition Act, A.R.S. §§ 12-3251 to
                                                                 court. See, e.g., A.R.S. § 12-3254 (describing the process
-3254 (“Act”), authorizes courts to recognize judgments
                                                                 for domestication under the Act). Before 2015, Arizona
originating from a foreign country with a “reciprocal law”
                                                                 courts only applied common law principles to decide
that is “similar” to the Act. § 12-3252(B)(2). We are
                                                                 whether to recognize foreign-country money judgments.
asked whether reciprocity requires a legislative act or if
court decisions authorizing such procedures can be               See, e.g.,    Alberta Sec. Comm’n v. Ryckman, 200 Ariz.

               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                          3
                   Case 22-10263-KBO             Doc 221-1     Filed 05/02/22         Page 14 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

540, 545 ¶ 15, 30 P.3d 121, 126 (App. 2001) (applying            of the entire text, considering the context and related
Restatement (Third) of the Foreign Relations Laws of the         statutes on the same subject.” Molera v. Hobbs, 250 Ariz.
United States §§ 481–82 (Am. Law Inst. 1987)). Under             13, 24 ¶ 34, 474 P.3d 667, 678 (2020) (citation omitted)
the common law, a court recognizes a judgment if the             (internal alterations omitted). “If the language is clear and
foreign jurisdiction that issued the judgment “afforded the      has only one reasonable meaning, we will apply that
defendant an opportunity for a hearing that comports with        meaning.” Id. If it yields more than one reasonable
basic due process principles before a court of competent         meaning, we apply secondary interpretive principles, such
jurisdiction.”    Id. ¶ 18. Whether that jurisdiction would      as examining “the statute’s subject matter, historical
recognize Arizona judgments if circumstances were                background, effect and consequences, and spirit and
reversed was not considered. See Restatement § 481 cmt.          purpose.” Id. (quoting Rosas v. Ariz. Dep’t of Econ. Sec.,
d.                                                               249 Ariz. 26, 28 ¶ 13, 465 P.3d 516, 518 (2020)).

¶6 In 2015, the Arizona Legislature passed the Act, which        ¶9 We reject MDHI’s argument that “reciprocal”
is based on the Uniform Foreign-Country Money                    necessarily means a corresponding legislative enactment.
Judgments Recognition Act. See 2015 Ariz. Sess. Laws             The plain meaning of “reciprocal” does not itself direct
ch. 170, § 1 (1st Reg. Sess.). It requires courts to             the form of “law.”      New York v. O’Neill, 359 U.S. 1, 4,
recognize foreign-country money judgments subject to the         79 S.Ct. 564, 3 L.Ed.2d 585 (1959), and             State v.
Act unless a listed exception exists. §§ 12-3252 and             Jordan, 83 Ariz. 248, 251, 320 P.2d 446 (1958), relied on
-3253. Unlike the uniform act and common law, the Act            by MDHI, did not conclude otherwise by describing the
includes a reciprocity requirement, § 12-3252(B)(2),             Uniform Act to Secure the Attendance of Witnesses from
which excludes from the Act any judgment that                    Without a State in Criminal Proceedings as operative
“[o]riginates from a foreign country that has not adopted        between states that had enacted the same or similar
or enacted a reciprocal law related to foreign-country           legislation. The reciprocity clause in that act uses
money judgments that is similar to this chapter.” The Act        different language, see A.R.S. § 13-4093(A), and,
does not address whether courts may domesticate                  regardless, neither case addressed the meaning of the
excluded judgments under common law principles.
                                                                 reciprocity clause. See     O’Neill, 359 U.S. at 4, 79 S.Ct.
¶7 MDHI argues that § 12-3252(B)(2) prevents an                  564;      Jordan, 83 Ariz. at 251, 320 P.2d 446. Whether §
Arizona court from recognizing a foreign-country money           12-3252(B)(2) requires a reciprocal legislative enactment
judgment unless it originates from a country that either         depends entirely on the meaning of “law.”
entered a treaty with the United States or Arizona or
                                                                 [5]
enacted a statute similar to the Act. Because the                  ¶10 “Law” may have a broad or narrow meaning,
Netherlands applies principles grounded in Dutch caselaw         depending on context and legislative intent. See     State
to recognize foreign-country money judgments, rather             ex rel. Conway v. Superior Court, 60 Ariz. 69, 75–77, 131
than relying exclusively on a treaty or statute, MDHI            P.2d 983 (1942), overruled in part on other grounds by
asserts that the Act’s reciprocity clause excludes the
                                                                     Adams v. Bolin, 74 Ariz. 269, 275, 247 P.2d 617
judgment here from recognition under the Act. In
                                                                 (1952). The term can include “constitutions, statutes, the
contrast, the Netherlands asserts, and the prior courts
                                                                 common law and the various [rules of court]” or “an act
agreed, that judgment-recognition procedures established
by caselaw that are similar to the Act satisfy the clause.       of the legislature only.”     Id. at 76, 131 P.2d 983; see
See State of the Netherlands, 248 Ariz. at 539 ¶ 16, 462         also Law, Black’s Law Dictionary (11th ed. 2019)
P.3d at 1044. It therefore contends that because Dutch           (defining “law” in relevant part as “[t]he aggregate of
caselaw establishes recognition principles similar to the        legislation, judicial precedents, and accepted legal
Act, the Act applies to the judgment here.                       principles,” or “[t]he set of rules or principles dealing
                                                                 with a specific area of a legal system”); Law, Webster’s
[1] [2] [3] [4]
             ¶8 Resolution of this dispute turns on the          Third New International Dictionary (3d ed. 2002)
meaning of “a reciprocal law” in § 12-3252(B)(2), an             (defining “law” in relevant part as an “ordinance, statute,
issue we review de novo. See **233 *238 BMO Harris               resolution, rule [or] judicial decision,” or the “common
Bank, N.A. v. Wildwood Creek Ranch, LLC, 236 Ariz.               law”). Pinpointing whether the legislature intended “law”
363, 365 ¶ 7, 340 P.3d 1071, 1073 (2015). When                   to have a broad meaning or a narrower one forms the crux
interpreting statutes, our goal is to effectuate the             of the dispute here.
legislature’s intent. SolarCity Corp. v. Ariz. Dep’t of
                                                                 [6]
Revenue, 243 Ariz. 477, 480 ¶ 8, 413 P.3d 678, 680                ¶11 Reading “law” in context, we agree with the
(2018). To do so, “we interpret statutory language in view       Netherlands and the court of appeals that the legislature

                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                      4
                  Case 22-10263-KBO                Doc 221-1     Filed 05/02/22        Page 15 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

intended a broad meaning, which includes a foreign                rule or statute, may proceed according to the common
country’s jurisprudence. See State of the Netherlands, 248        law.”). And the legislature knew that Arizona historically
Ariz. at 540 ¶ 21, 462 P.3d at 1045. First, interpreting          recognized foreign-country money judgments under
“law” as including caselaw, rules, regulations, and the           common law principles of comity. See Ariz. H.R. B.
like avoids rendering “adopted” in § 12-3252(B)(2)                Summ. for S.B. 1447, 52d Leg., 1st Reg. Sess. (Mar. 18,
redundant to “enacted” and thus superfluous. See Nicaise          2015) (explaining that the Act “allows a court to give a
v. Sundaram, 245 Ariz. 566, 568 ¶ 11, 432 P.3d 925, 927           foreign-country judgment greater effect than it is
(2019) (“A cardinal principle of statutory interpretation is      currently required to” and “outlines policy for listing
to give meaning, if possible, to every word and provision         today[’]s generally-accepted policies and preserves the
so that no word or provision is rendered superfluous.”).          right for courts to recognize further bases”).
Legislative bodies “enact” laws. See Enact, Black’s Law
Dictionary (11th ed. 2019) (defining “enact” as meaning           ¶14 Third, the focus of § 12-3252(B)(2) is on ensuring
“[t]o make into law by authoritative act; to pass”);              that a foreign country would recognize Arizona
    Cronin v. Sheldon, 195 Ariz. 531, 537 ¶ 28, 991 P.2d          judgments under circumstances similar to those in the
231, 237 (1999) (acknowledging that “the legislature has          Act. No reason appears why the legislature would restrict
the authority to enact laws”). If the legislature intended to     the myriad types of “law” under which a foreign country
restrict the meaning of “law” to legislative enactments,          may recognize an Arizona judgment. See Molera, 250
“adopted” would add nothing to § 12-3252(B)(2). But               Ariz. at 24 ¶ 34, 474 P.3d at 678 (providing that the
courts “adopt” rules, procedures, and common law                  “spirit and purpose” of the statute is a pertinent
principles, and executive agencies “adopt” rules and              consideration to interpretation (quoting Rosas, 249 Ariz.
regulations. See State of the Netherlands, 248 Ariz. at           at 28 ¶ 13, 465 P.3d at 518)).
539–40 ¶ 19, 462 P.3d at 1044–45 (citing examples); see
                                                                  ¶15 We are not persuaded by MDHI’s contrary
also     Dobson Bay Club II DD, LLC v. La Sonrisa de              arguments. It contends that because § 12-3252(B)(2)
Siena, LLC, 242 Ariz. 108, 111 ¶ 15, 393 P.3d 449, 452            refers to “a reciprocal law,” only a single act, like a
(2017) (“We adopt the Restatement Second § 356(1) to              statute or treaty, can fulfill that requirement. But in our
test the enforceability of a stipulated damages provision.”       statutes, words phrased singularly include the plural, so
(emphasis added)); Ariz. Const. art. 6, § 2 (“The supreme         “a” does not necessarily mean one singular act. See
court shall **234 *239 sit in accordance with rules               A.R.S. § 1-214(B) (“Words in the singular number
adopted by it.” (emphasis added)). Interpreting “law” as          include the plural, and words in the plural number include
including these authorities gives “adopted” a meaning             the singular.”). Mirroring the uniform act, the Act is
distinct from “enacted.”                                          phrased primarily in the singular throughout, and nothing
                                                                  indicates a legislative intent to exclude plural references.
¶12 MDHI briefly asserts that a treaty could also be “a           See, e.g., § 12-3253(C)(3) (permitting a court to refuse
reciprocal law.” Countries, however, do not “enact” or            recognition of a judgment “repugnant to the public policy
“adopt” treaties but rather enter into such agreements. Cf.       of this state or of the United States” (emphasis added)).
Begay v. Miller, 70 Ariz. 380, 385, 222 P.2d 624 (1950)           But see § 12-3253(E)(4) (providing that a foreign-country
(addressing Indian tribe’s sovereign “power to enter into         money judgment may not be refused for lack of personal
treaties with foreign nations”); U.S. Const. art. 1, § 10, cl.    jurisdiction if the defendant was a business entity
3 (“No State shall, without the Consent of Congress ...           “organized under the laws of[ ] the foreign country”
enter into any Agreement or Compact with ... a foreign            (emphasis added)). For example, § 12-3252(A) provides
Power ....”).                                                     that the Act applies to judgments that are final,
                                                                  conclusive, and enforceable “under the law of the foreign
¶13 Second, the legislature did not include any language          country,” which, as in Arizona, may consist of a
in § 12-3252(B)(2) restricting “law” to a legislative act or      combination of legislation and court rules. See, e.g., Ariz.
treaty. See Collins v. Stockwell, 137 Ariz. 416, 420, 671         R. Civ. P. 58 (entry of judgment); A.R.S. § 12-1611
P.2d 394, 398 (1983) (“Courts will not read into a statute        (renewal of judgments).
something that is not within the manifest intent of the
Legislature as gathered from the statute itself.”). The           [7]
                                                                    ¶16 MDHI also argues that “foreign country” in §
absence of restrictive language is particularly telling as        12-3252(B)(2) excludes foreign courts, meaning “a
the legislature was indisputably aware that “law” includes        reciprocal law” that is “adopted or enacted” by that
more than statutes. See, e.g.,      Conway, 60 Ariz. at           country must be a legislative enactment or treaty. The Act
75–76, 131 P.2d 983 (including the common law within              defines “foreign country” as “a government” other than
the meaning of “law”); A.R.S. § 12-122 (“The superior             the United States, its territories and possessions and any
court, in addition to the powers conferred by constitution,
                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                        5
                 Case 22-10263-KBO               Doc 221-1     Filed 05/02/22         Page 16 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

other government where “a judgment of that                       judgments under its Reciprocal Enforcement of
government’s courts” is “subject to determination under          Judgments Act, R.S.A. 2000, ch. R-6, MDHI asserts that
the full faith and credit clause of the United States            the hearing remarks reflect the legislature’s intent that
Constitution.” See § 12-3251(1)(c). MDHI reasons that            only governments that “establish a mutual relationship
“government,” and by extension “foreign country,”                with Arizona [through legislation] should be allowed to
necessarily excludes courts, otherwise the reference to          enjoy the [Act’s] benefits.”
“courts” would be redundant. It further points out that §
12-3253’s references to “foreign court” rather than              ¶19 Neither the language in § 12-3252(B)(2) nor the Act’s
“foreign country” **235 *240 when describing                     limited legislative history supports MDHI’s contention.
circumstances in which judgments cannot or may not be            As previously explained, nothing in § 12-3252(B)(2)
recognized further demonstrates that the legislature             restricts “a reciprocal law” to legislation. And neither the
intended to differentiate the terms. See, e.g., §                sponsoring senator nor the banking representative
12-3253(B)(2) (“A court may not recognize a                      specified that any “reciprocal arrangement” or
foreign-country judgment if any of the following applies:        “agreement” had to take the form of legislation.
... [t]he foreign court did not have personal jurisdiction       Regardless, their remarks do not necessarily reflect the
over the defendant.”).                                           intent of the legislators who voted to enact Senate Bill
                                                                 1447. See       Hayes v. Cont’l Ins. Co., 178 Ariz. 264,
¶17 Like the court of appeals, we are unpersuaded. See           269–70, 872 P.2d 668, 673–74 (1994) (“When seeking to
State of the Netherlands, 248 Ariz. at 539 ¶ 18, 462 P.3d        ascertain the intent of legislators, courts normally give
at 1044. A “foreign country” means “a government,” see           little or no weight to comments made at committee
§ 12-3252(1), and governments include courts. See                hearings by nonlegislators.”); City of Tucson v. Woods,
Government, Black’s Law Dictionary (11th ed. 2019)               191 Ariz. 523, 528, 959 P.2d 394, 399 (App. 1997) (“[A]
(defining “government” in relevant part as meaning “the          single member of the legislature is not able to testify
political organs of a country regardless of their function       regarding the intent of the legislature in passing a law.”).
or level”). By referring to a “government’s courts,” §
12-3251(1)(c) recognizes that courts belong to                   ¶20 Significantly, Alberta’s Reciprocal Enforcement of
government. Section 12-3251(2) also acknowledges that            Judgments Act does not itself guarantee recognition of
courts are part of government by defining a                      Arizona money judgments. That act provides that “[w]hen
“foreign-country judgment” as one issued by “a court of a        the Lieutenant Governor in Council is satisfied that
foreign country.” The references to “foreign courts” in §        reciprocal provision will be made by a jurisdiction” for
12-3253 do not suggest otherwise by identifying the part         enforcement of Alberta judgments, the Lieutenant
of government issuing the judgments at issue. Singling           Governor in Council “may by order declare it to be a
out the component of government that issues money                reciprocating jurisdiction.” R.S.A. 2000, ch. R-6, § 8. No
judgments (i.e., courts) when discussing those judgments         limits are placed on the Lieutenant Governor in Council’s
does not make the terms “government” and “courts”                discretion, and an order may be revoked in his or her
redundant if the former term includes the latter.                discretion. Id. Although the Lieutenant Governor in
                                                                 Council has recognized Arizona as a reciprocating
¶18 MDHI finally argues that interpreting “a reciprocal          jurisdiction, see Alberta Regulation 344/85, the act itself
law” as including caselaw and court practices thwarts the        does not provide Arizona judgment creditors with the
legislature’s intent to only recognize foreign-country           “guarantee” MDHI asserts is required by “a reciprocal
money judgments from rendering countries that provide a          law.”
“guarantee of reciprocity” through legislation. In support,
MDHI relies on remarks during a senate committee                 **236 *241 ¶21 Our dissenting colleagues argue that “a
hearing on Senate Bill 1447, which resulted in the Act.          reciprocal law” precludes caselaw because other states
There, a representative of the Arizona Bankers                   with broader reciprocity clauses consider caselaw,
Association, who requested the bill, stated the bill was         meaning our legislature must have intended a different
prompted by Alberta, Canada’s desire “to have a                  result by using more restrictive language. See infra ¶¶ 28,
reciprocal arrangement with Arizona.” He also stated that        33–36. But even if other states’ reciprocity clauses are
any country wanting a “reciprocal arrangement” with              broader than § 12-3252(B)(2), that circumstance has no
Arizona would qualify if it met the Act’s requirements of        bearing on our legislature’s intent. Nothing in the
“essentially” having court systems that parallel those in        legislative history suggests the legislature was aware of
the United States. The bill’s sponsoring senator added that      other states’ reciprocity clauses or intended to be more
three states had “agreements” with Alberta like ones the         restrictive than other states. Any comparison with other
Act would authorize. Because Alberta recognizes foreign          states’ reciprocity clauses to determine legislative intent is

               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                          6
                  Case 22-10263-KBO                 Doc 221-1     Filed 05/02/22       Page 17 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

therefore of little use in interpreting the Act. And notably,      judgments outside that act may still be recognized under
the legislative history reflects a legislative intent to permit    common law principles, the Act prohibits recognizing
greater recognition of foreign-country money judgments;            foreign-country money judgments under the common law.
no mention is made of an intent to be more restrictive             See infra ¶¶ 29, 38. And because Dutch courts recognize
than other states. See Ariz. S.B. Summ. for S.B. 1447, 52d         foreign-country money judgments under principles
Leg., 1st Reg. Sess. (Mar. 25, 2015) (stating the Act is           developed in caselaw, the Dutch system, according to the
modeled on the uniform act, which “allows a court to give          dissent, is dissimilar to the Act. See infra ¶ 41.
a foreign-country judgment greater effect than it is
currently required to” and “outlines policy for listing            ¶25 We find the dissent’s reasoning flawed. Whether the
today[’]s generally-accepted policies and preserves the            lack of a savings clause in the Act evidences a legislative
right for courts to recognize further bases”).                     intent to prohibit recognition of all foreign-country money
                                                                   judgments under common law principles is not properly
[8]    [9]
      ¶22 In sum, “a reciprocal law related to                     before us because we denied review of that issue in this
foreign-country money judgments” means a foreign                   case. Regardless, even if the legislature intended to
country’s formally recognized and enforced rule that               entirely displace the common law for recognizing
authorizes recognition of Arizona money judgments. That            judgments in Arizona, it does not logically follow that
rule can be established by a foreign country’s caselaw. To         foreign caselaw cannot establish a reciprocal law similar
avoid exclusion under § 12-3252(B)(2), the law must                to the Act. The Act did not eschew the common law but
recognize such judgments in a manner “similar” to the              codified “the most prevalent common law rules” for
Act. In essence, § 12-3252(B)(2) provides that an Arizona          recognizing foreign-country money judgments. See **237
court will only recognize a foreign-country money                  *242 Uniform Foreign-Country Money Judgments
judgment if it is assured that the rendering foreign country       Recognition Act § 11 prefatory note (2005) (Unif. Law
would recognize an Arizona judgment if circumstances               Comm’n prefatory note); see also § 12-3253 (codifying
were reversed.                                                     common law considerations like whether the judgment
                                                                   emanated from a court of competent jurisdiction
[10]
    ¶23 We now turn to the facts of this case. Article 431         providing due process of law);         Alberta Sec. Comm’n,
of the Dutch Code of Civil Procedure, enacted by the               200 Ariz. at 545 ¶ 15, 30 P.3d at 126 (citing common law
Dutch Legislature, generally prohibits enforcement of              principles later codified in the Act). The key inquiry is
foreign judgments but authorizes the Dutch courts to               whether the foreign system similarly adheres to the Act’s
“deal[ ] with and settle[ ] de novo” such matters. Pursuant        recognition rules. See Ariz. S.B. Summ. for S.B. 1447,
to this delegation, Dutch courts developed principles for          52d Leg., 1st Reg. Sess. (Mar. 25, 2015) (“Though the
recognizing foreign-country money judgments, which is              Act applies to judgment from any foreign court, it does
necessary to later enforce such judgments. See State of the        not allow recognition of judgments rendered under a
Netherlands, 248 Ariz. at 541 ¶ 24, 462 P.3d at 1046.              system not providing impartial tribunals or is
MDHI does not contest that Dutch caselaw has                       incompatible with the requirements of due process of
recognized foreign-country money judgments, including              law.”). As the court of appeals concluded, and we agree,
United States judgments, for nearly a century under                the Dutch system meets that standard. See State of the
principles “similar to” the Act. See id. at 541–42 ¶¶              Netherlands, 248 Ariz. at 541–42 ¶¶ 24–26, 462 P.3d at
24–26, 462 P.3d at 1046–47 (describing similarities and            1046–47.
listing Dutch cases that recognized money judgments
entered by United States courts). Although Dutch courts
could cease applying such principles, just as countries
could rescind reciprocal legislation or Alberta’s
Lieutenant Governor in Council could revoke recognition                                CONCLUSION
of Arizona judgments, their steadfast recognition of
foreign-country money judgments constitutes “a                     ¶26 We affirm the trial court and the court of appeals.
reciprocal law” that is “similar to” the Act.                      Both parties ask for attorney fees pursuant to A.R.S. §
                                                                   12-341.01(A). We award fees to the Netherlands as the
¶24 The dissent argues that although formally adopted              prevailing party.
court procedures, evidentiary rules, and the like can be
“similar to” the Act, caselaw cannot meet that
requirement. See infra ¶ 27. It asserts that because the
legislature did not enact the uniform act’s “savings
clause,” which provides that foreign-country money                 MONTGOMERY, J., joined by BOLICK, J., concurring
                                                                   in part and dissenting in part:
                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                        7
                 Case 22-10263-KBO               Doc 221-1     Filed 05/02/22        Page 18 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

                                                                 and purpose” of the Act, Molera v. Hobbs, 250 Ariz. 13,
¶27 While it may be possible for a foreign court to adopt        24 ¶ 34, 474 P.3d 667, 678 (2020) (quoting Rosas v. Ariz.
rules of procedure or evidence or some process that would        Dep’t of Econ. Sec., 249 Ariz. 26, 28 ¶ 13, 465 P.3d 516,
satisfy the requirements of Arizona’s Uniform                    518 (2020)), I depart from the Majority’s conclusion.
Foreign-Country Money Judgment Act (“Act”), I                    Supra ¶ 23.
respectfully dissent from the Majority’s conclusion that
Dutch caselaw satisfies the requirements in the matter           ¶31 The Arizona legislature did not consider its version of
before us.                                                       the NCCUSL Act in a **238 vacuum nor did it adopt the
                                                                 version approved by the NCCUSL in 2005. At the time
¶28 There are two main reasons for my dissent. First, the        Arizona passed its Act in 2015, twenty other states had
Majority’s conclusion that Dutch caselaw is similar              adopted the NCCUSL Act or a version thereof1 and the
enough to the Act does not adequately account for the            legislature specifically referenced the NCCUSL Act as a
significant differences between the Arizona legislature’s        source for the introduced legislation. See Ariz. State
version unanimously passed without amendment in 2015             Senate Fact Sheet for S.B. 1447, 52d Leg., 1st Reg. Sess.
and the Act as originally proposed in 2005 by the                (Apr. 14, 2015). Instead of mirroring the NCCUSL Act,
National Conference of Commissioners on Uniform State            our legislature added a reciprocity requirement at
Laws (“NCCUSL Act”). See Unif. Foreign-Country                      A.R.S. § 12-3252 and declined to include Section 11
Money Judg. Recog. Act (Unif. Law Comm’n 2005).                  of the NCCUSL Act, entitled “Savings Clause.” Arizona
Arizona’s version has a more stringent reciprocity               also declined to include the Uniformity of Interpretation
requirement than any other state in the country and omits        provision at Section 10, which states that “[i]n applying
specific language that would accommodate the                     and construing this uniform act, consideration must be
recognition of foreign judgments based on common law             given to the need to promote uniformity of the law with
principles. While the latter difference does not necessarily     respect to its subject matter among states that enact it.”
mean that an Arizona court could not recognize a foreign
judgment based on the common law—an issue we did not             ¶32 With respect to the requirement for reciprocity, the
accept for review—it does bear on the comparison                 prefatory note to the NCCUSL Act states:
between the recognition of judgments pre-dating passage
of the Act, the requirements of the Act, and Dutch
caselaw today.
                                                                             [T]he drafters revisited the decision
¶29 Second, the Majority’s conclusion does not account                       made in the 1962 Act not to require
for the simple fact that, with passage of the Act, the                       reciprocity as a condition to
Arizona legislature changed the means by which foreign                       recognition of the foreign-country
judgments are recognized in Arizona from the common                          money judgments covered by the
law approach to the statutory framework as set forth,                        Act. After much discussion, the
whether exclusive or not. Given that Dutch caselaw                           drafters decided that the approach
reflects a common law approach, the Dutch process is                         of the 1962 Act continues to be the
more like what Arizona utilized before the Act. Therefore,                   wisest course with regard to this
the Dutch means for recognizing foreign judgments, being                     issue. While recognition of U.S.
the same or similar to what we had before the Act, cannot                    judgments       continues    to    be
be similar enough to the Act to warrant recognition of the                   problematic in a number of foreign
judgment before us. Otherwise, either the entire action by                   countries, there was insufficient
the legislature in passing the Act was without effect,                       evidence to establish that a
leaving the means for recognizing a foreign judgment no                      reciprocity requirement would have
different now than it was before, or the Majority’s reading                  a greater effect on encouraging
of the Act’s reciprocity requirement of similarity renders                   foreign recognition of U.S.
it meaningless.                                                              judgments than does the approach
                                                                             taken by the Act. At the same time,
¶30 As an initial point, I concur with the Majority’s                        the certainty and uniformity
interpretive principles, set forth at supra ¶¶ 8 and 9, as                   provided by the approach of the
well as the balance of the Majority’s refutation of points                   1962 Act, and continued in this
raised by MDHI. See supra ¶¶ 7, 9, 10, 12, 13, 16, 17, and                   Act, creates a stability in this area
19. However, when considering the “subject matter,                           that     facilitates    international
historical background, effect and consequences, and spirit                   commercial transactions.

                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                      8
                 Case 22-10263-KBO               Doc 221-1     Filed 05/02/22         Page 19 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

                                                                 caselaw sets forth five instances in which Canada would
¶33 Nonetheless, Arizona included a reciprocity                  recognize a foreign judgment.      Id. Because Texas law
requirement, as did six other states—Florida, Maine,             merely required that the foreign jurisdiction would
Massachusetts, Ohio, Tennessee, and Texas. Fl. Stat. §           “recognize” a Texas judgment, the court held that the
55.605(2)(g); Me. Rev. Stat. tit. 14, § 8505(2)(G); Mass.        Canadian judicial practice of recognizing foreign
Gen. Laws Ch. 235 § 23A(7); Ohio Rev. Code §
2329.92(B); Tenn. Code Ann. § 26-6-204(c)(9); Tex. Civ.          judgments was sufficient for reciprocity.     Id. See also
Prac. & Rem. Code Ann. § 36A.004(c)(9).2                         Genujo Lok Beteiligungs GmbH v. Zorn, 943 A.2d 573,
                                                                 581 (Me. 2008) (finding reciprocity because “German
¶34 Of the states requiring reciprocity, Arizona is the only     courts would likely recognize a comparable judgment
one that expressly requires “a reciprocal law.”       A.R.S.     from Maine”);       Chabert v. Bacquié, 694 So.2d 805,
                                                                 815 (Fla. Dist. Ct. App. 1997) (requiring the party
§ 12-3252(B)(2) (emphasis added). Specifically,            §     challenging recognition to establish that “a French court
12-3252(B)(2) excludes recognition for judgments that            would refuse to recognize an American judgment against
“originate[ ] from a foreign country that has not adopted        a non-French party sought to be enforced in a French
or enacted a reciprocal law related to foreign-country           court”); McCord v. Jet Spray Int’l Corp., 874 F. Supp.
money judgments that is similar to this chapter.” The            436, 439–40 (D. Mass. 1994) (holding that Belgian
other states only require that the foreign jurisdiction          procedures amounted to “recognition” sufficient for
rendering the judgment “recognize” a judgment from that          reciprocity).
state. See Fl. Stat. § 55.605(2)(g) (“An out-of-country
foreign judgment need not be recognized if ... [t]he             ¶36 There is an obvious difference in language between
foreign jurisdiction where the judgment was rendered             requiring “a reciprocal law ... similar to the Act” and
would not give recognition to a similar judgment rendered        merely calling for “recognition.” Yet, the Majority’s
in this state”); Me. Rev. Stat. tit. 14, § 8505(2)(G) (“A        approach, see supra ¶¶ 10–15, disregards that difference
foreign judgment need not be recognized if ... [t]he             and gives Arizona’s reciprocity provision, which demands
foreign court rendering the judgment would not recognize         the former, the same meaning as provisions in other states
a comparable judgment of this State.”); Mass. Gen. Laws          that only call for the latter. The Majority’s point that the
Ch. 235, § 23A(7) (“A foreign judgment shall not be              legislative history of the Act does not reflect awareness of
recognized if ... judgments of this state are not recognized     what other states were doing with respect to reciprocity is
in the courts of the foreign state.”); Ohio Rev. Code §          beside the point. See supra ¶ 21. We must give meaning
2329.92(B) (providing that the court has the discretion to       to the words chosen by our legislature and our analysis
recognize judgments rendered “in a foreign country that          should account for those choices accordingly.
does not have a procedure for recognizing judgments
made by courts of other countries and their political            ¶37 Were we to apply a plain-meaning analysis and give
subdivisions in its statutes, rules, or common law that is       effect to the unique language chosen by our legislature,
substantially similar to sections 2329.90 to 2329.94 of the      this Court would not be the first to interpret a reciprocity
Revised Code”); Tenn. Code Ann. § 26-6-204(c)(9) (“A             requirement to render a result that might not necessarily
court of this state need not recognize a foreign-country         align with the legislature’s expectations. For instance,
judgment if ... [t]he foreign jurisdiction where the             Colorado courts originally interpreted a “foreign state” in
judgment was rendered would not give recognition to a            its version of the Act so narrowly that it did not allow
similar judgment rendered in this state.”); Tex. Civ. Prac.      recognition of judgments from any other country.
& Rem. Code Ann. § 36A.004(c)(9) (providing that a
court is not required to recognize a foreign judgment if             Milhoux v. Linder, 902 P.2d 856, 859 (Colo. App.
the jurisdiction that rendered it **239 *244 would not           1995) (reasoning that because Colorado law required a
recognize a judgment from Texas) (emphasis added)).              “reciprocal agreement” between the United States and a
                                                                 foreign country and no such agreement existed, no foreign
¶35 Courts that have considered whether a foreign                judgments could be recognized under its version of the
judgment is entitled to recognition in states with the           Act). Consequently, the court held that “the district court
different,  broader    recognition    language     have          was not required by the Recognition Act to recognize the
understandably focused on the foreign country’s judicial         Belgian judgment.”        Id. at 860. In response, the
process. In   Reading Bates Construction Co. v. Baker            Colorado legislature repealed the restrictive reciprocity
Energy Resources Corp., the Court of Appeals of Texas            requirement in 2008. See Ledroit Law v. Kim, 360 P.3d
                                                                 247, 254 n.1 (Colo. App. 2015) (“The Recognition Act
relied on Canadian caselaw to find reciprocity.     976          has since been amended to eliminate the reciprocity
S.W.2d 702, 710–11 (Tex. Ct. App. 1998). Canadian
                                                                 requirement.”). If the standard set out in         A.R.S. §
                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                       9
                  Case 22-10263-KBO                 Doc 221-1   Filed 05/02/22        Page 20 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

12-3252 proves likewise unworkable, it is up to the              term “adopted” is rendered “superfluous” if caselaw and
legislature to rectify the consequence.      Orca Commc’ns       court practices cannot amount to “a reciprocal law,” see
Unlimited, LLC v. Noder, 236 Ariz. 180, 182 ¶ 11, 337            supra ¶ 11, I disagree with the ultimate conclusion that
P.3d 545, 547 (2014) (“The choice of the appropriate             Dutch court practices and caselaw as they are today
wording rests with the Legislature, and the court may not        satisfy the Act’s requirements. Supra ¶ 23. The apparent
substitute its judgment for that of the Legislature.”)           source of authority for Dutch courts to consider foreign
(quoting City of Phoenix v. Butler, 110 Ariz. 160, 162,          judgments, Article 431 of the Dutch Civil Code of
515 P.2d 1180, 1182 (1973)). Similar to Colorado,                Procedure, is inapplicable. Id. Article 431 explicitly refers
                                                                 to enforcement of judgments, not recognition. Article
Arizona can repeal and replace           § 12-3252 to better     431(1) states that “no decision rendered by foreign courts
achieve its goals if the legislature so desires.                 ... can be enforced within The Netherlands.” (emphasis
                                                                 added). Article 431(2) is equally unavailing, stating that
¶38 Our legislature chose to omit the Savings Clause as          “[d]isputes may be litigated again in the Dutch courts.”
proposed by the NCCUSL, which provides that “[t]his              Relitigating an underlying dispute involving enforcement
[act] does not prevent the recognition under principles of       is hardly similar to the statutory process established by
comity or otherwise of a foreign-country judgment not            the Act for recognition of a judgment rendered after a
within the scope of this [act].” The following comment           dispute has been litigated.
notes:
                                                                 ¶40 As for the particular Dutch court process for
                                                                 considering foreign judgments, the Netherlands Supreme
             Section 11 makes clear that no                      Court refers to it as “disguised exequatur proceedings.”
             negative implication should be read                 Dutch Supreme Court, 26 September 2014,
             from the fact that this Act does not                ECLI:NL:HR:2014:2838 (Gazprombank). Even if there
             provide for recognition of other                    may be a circumstance where a foreign country’s caselaw
             foreign-country judgments. Rather,                  could constitute “a reciprocal law,” a process
             this Act simply does not address                    characterized as “disguised” is hardly similar to the
             the      issue       of     whether                 explicit and formal process of recognizing a foreign
             foreign-country judgments not                       judgment as afforded by Arizona’s Act.
             within its scope ... should be
             recognized. Courts are free to                      ¶41 What the Dutch system is similar to is what Arizona
             recognize those foreign-country                     relied on prior to the 2015 Act, namely application of the
             judgments not within **240 *245                     common law to determine whether to recognize a foreign
             the scope of this Act under                         judgment. See supra ¶ 5. With the passage of the Arizona
             common law principles of comity                     Act, though, the legislature instituted a different process
             or other applicable law.                            for recognizing foreign judgments that, by omitting the
                                                                 Savings Clause, does not reference the use of common
                                                                 law principles. Therefore, the Dutch system, reflecting an
                                                                 approach “similar” to the method Arizona previously
Almost every state that has adopted the NCCUSL Act or a          utilized for foreign judgment recognition, cannot be
variant thereof has included a savings clause.3 And as the       similar to the system now in place. To conclude otherwise
majority notes, prior to 2015, the only means available for      renders the process of passing the Act as drafted by the
securing recognition of a foreign judgment in Arizona            legislature, as well as the resulting distinctive and narrow
was provided by the common law. See supra ¶ 5.                   terms, superfluous.
Therefore, by omitting a savings clause to retain the use
of common law principles, the legislature afforded parties       ¶42 Where the legislature has omitted language that may
a different (and much narrower) means by which a                 make it easier to achieve a policy objective or added
foreign judgment can be recognized in Arizona. The               language that may make a declared policy objective more
Majority’s cite to legislative history for the proposition       challenging to achieve or outright frustrate it, they need to
that the legislature intended to actually give courts the        correct it. If the ultimate consequence of our forbearance
ability to give greater recognition to foreign judgments,        is more careful deliberation in the crafting of legislation
see supra ¶ 13, underscores the problem with omitting a          to begin with, so much the better for the people of
Savings Clause or similar language and is not a basis to         Arizona.
read into the statute what the legislature failed to include.
                                                                 ¶43 I would remand to the court of appeals for a
¶39 While I agree with the Majority’s conclusion that the
                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                       10
                   Case 22-10263-KBO             Doc 221-1        Filed 05/02/22            Page 21 of 115


State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020)
34 Arizona Cases Digest 30, 478 P.3d 230

determination of whether the Act is the **241 *246                  All Citations
exclusive means by which a foreign money judgment can
be recognized.                                                      250 Ariz. 235, 34 Arizona Cases Digest 30, 478 P.3d 230

                                                         Footnotes


*
       Chief Justice Brutinel is recused from this matter. Pursuant to article 6, section 3 of the Arizona Constitution, Hon.
       Karl C. Eppich, Judge of the Court of Appeals Division Two, was designated to sit in this matter.

1
       The     number      is    now      up     to      twenty-five.    https:                           //www.uniformlaws.org/
       committees/community-home?CommunityKey=ae280c30-094a-4d8fb722-8dcd614a8f3e

2
       All cites to state statutes are to current versions, unless otherwise noted.

3
       Ala. Code § 6-9-260; Alaska Stat. § 09.30.150; Cal. Civ. Proc. Code § 1723; Colo. Rev. Stat. § 13-62-111; Conn. Gen.
       Stat. § 50a-37; Del. Code Ann. tit. 10, § 4807; D.C. Code § 15-371; Ga. Code Ann. § 9-12-119; Haw. Rev. Stat. §
       658F-10; Idaho Code § 10-1411; 735 Ill. Comp. Stat. Ann. 5/12-671; Ind. Code § 34-54-12-9; Iowa Code § 626B.111;
       Me. Stat. tit. 14 § 8508; Md. Code Ann., Cts. & Jud. Proc. § 10-707; Mich. Comp. Laws § 691.1141; Minn. Stat. §
       548.63; Mo. Stat. Ann. § 511.787; Mont. Code Ann. § 25-9-608; Nev. Rev. Stat. § 17.820; N.J. Stat. Ann. §
       2A:49A-16.11; N.M. Stat. Ann. § 39-4D-10;     N.Y. C.P.L.R. § 5307; N.C. Gen. Stat. § 1C-1852; Okla. Stat. tit. 12,
       § 12-718.11; Or. Rev. Stat. § 24.395; 42 Pa. Cons. Stat. § 22008; Utah Code Ann. § 78B-5-460; Va. Code Ann. §
       8.01-465.13:10; Wash. Rev. Code § 6.40A.090.




End of Document                                                     © 2022 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                              11
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 22 of 115




                         Exhibit C




                            4
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 23 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 24 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 25 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 26 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 27 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 28 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 29 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 30 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 31 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 32 of 115




                         Exhibit D
  Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 33 of 115




Enlargement
Area of
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 34 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 35 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 36 of 115




                         Exhibit E




                            4
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 37 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 38 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 39 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 40 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 41 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 42 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 43 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 44 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 45 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 46 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 47 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 48 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 49 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 50 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 51 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 52 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 53 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 54 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 55 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 56 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 57 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 58 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 59 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 60 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 61 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 62 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 63 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 64 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 65 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 66 of 115




                         Exhibit F
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 67 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 68 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 69 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 70 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 71 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 72 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 73 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 74 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 75 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 76 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 77 of 115




                         Exhibit G
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 78 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 79 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 80 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 81 of 115




                         Exhibit H
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 82 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 83 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 84 of 115




                         Exhibit I
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 85 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 86 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 87 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 88 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 89 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 90 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 91 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 92 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 93 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 94 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 95 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 96 of 115
Case 22-10263-KBO   Doc 221-1    Filed 05/02/22   Page 97 of 115




                         Exhibit J




                             4
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 98 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 99 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 100 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 101 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 102 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 103 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 104 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 105 of 115
Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 106 of 115




                         Exhibit K
                        Case 22-10263-KBO             Doc 221-1        Filed 05/02/22         Page 107 of 115

                                                                                        Title No.: AZ-FMPC-IMP-N/A-1-22-10007356

                 APPLICATION FOR THE ISSUANCE OF CONDITION OF TITLE REPORT

Applicant is in the process of investigating the Ownership of and defects, liens and encumbrances against an Interest in Land. As a
component of that investigation, Applicant hereby requests the Company to furnish Applicant with a Report based upon the
hereinafter defined Title Instruments, which Report will disclose the Ownership of and defects, liens and encumbrances against the
hereinafter identified Interest in the hereinafter described Land. Applicant does not at this time need nor desire the benefit or
protection afforded by a Policy of Title Insurance. The Report provided will be solely for the purpose of facilitating Applicant's
investigation and for the sole use and benefit of Applicant and may not be used or relied upon by any other party.

1.       The following terms when used in the Application and the Report shall mean:

         a.        Applicant – The party or parties who have executed this Application and who are named in the Report.

         b.        Company – The Title Insurance Company making the Report.

         c.        Report – Condition of Title Report.

         d.        Land – The real property described in the Application.

         e.        Interest – The Estate in the Land described on the Application.

         f.        Ownership – The Vesting of title to the Interest identified in the Application.

         g.        Title Instruments:

                   1.       Documents recorded in the Office of the County Recorder of the County in which the land is located
                            reviewed by the Company to facilitate the Company's issuance of title insurance policies excluding
                            therefrom, however, any documents pertaining to (a) unpatented mining claims, (b) patents, (c) water
                            rights, claims or title to water, (d) the lease, grant, exception or reservation of minerals or mineral rights.

                   2.       Documents, obtained by the Company to facilitate the issuance of title insurance policies, relating to the
                            payment of Real Estate Taxes levied on the Interest in the Land excluding therefrom, however, any special
                            assessments which are not collected by the Tax Collector for the County in which the Land is located.

2.       The Land is described as follows:

         See Exhibit A attached hereto and made a part hereof.

3.       The Interest in the Land is a:

         X         a.       Fee

                  b.       Leasehold created by

                  c.       Other

4.       Applicant specifically instructs the Company to set forth in the Report only the Ownership of and defects, liens and
         encumbrances against the Interest in the Land as disclosed by the Title Instruments. Applicant understands that during the
         course of preparing the Report, the Company may become aware of other matters pertaining to the Land or other Interests
         therein. Even if the company knows or would have reason to know Applicant may have an interest in these other matters,
         Applicant imposes no duty or responsibility on the Company to disclose those matters to Applicant either through the Report
         or otherwise.

5.       BY THE EXECUTION AND SUBMISSION OF THIS APPLICATION TO THE COMPANY, APPLICANT
         ACKNOWLEDGES AND AGREES:


Condition of Title Report
                       Case 22-10263-KBO              Doc 221-1         Filed 05/02/22          Page 108 of 115

         a.        That the Company's sole obligation under the Report, and this Application, shall be to set forth the Ownership of
                   and defects, liens and encumbrances against the Interest in the Land as disclosed by the Title Instruments.

         b.        That the Company shall not be obligated under this Report to pay costs, attorneys' fees, or expenses incurred in any
                   action, proceeding, or other claim brought against Applicant.

         c.        That the Report is not an abstract of title, title opinion, preliminary report or commitment to issue title insurance.

         d.        That the Company's liability under the Report for an error or omission is, as stated below, limited and that if
                   Applicant desires that the Company assume additional liability, a Policy of Title Insurance, Binder, Commitment, or
                   Guarantee should be requested.

         e.        That Applicant shall have no right of action against the Company, whether or not based on negligence, except under
                   the terms and provisions of, and subject to all limitations of this Application and the Report.

         f.        That the Report is not valid and the Company shall have no liability thereunder unless this Application is attached
                   thereto.

                                                 LIMITATION OF LIABILITY
APPLICANT RECOGNIZES THAT IT IS EXTREMELY DIFFICULT, IF NOT IMPOSSIBLE, TO DETERMINE THE EXTENT
OF LOSS WHICH COULD ARISE FROM ERRORS OR OMISSIONS IN THE REPORT. APPLICANT RECOGNIZES THAT
THE FEE CHARGED IS NOMINAL IN RELATION TO THE POTENTIAL LIABILITY WHICH COULD ARISE FROM SUCH
ERRORS OR OMISSIONS. THEREFORE, APPLICANT UNDERSTANDS THAT THE COMPANY IS NOT WILLING TO
PROCEED IN THE PREPARATION AND ISSUANCE OF THE REQUESTED REPORT UNLESS THE COMPANY'S
LIABILITY IS STRICTLY LIMITED. APPLICANT AGREES WITH THE PROPRIETY OF THIS LIMITATION AND AGREES
TO BE BOUND BY ITS TERMS.

THIS LIMITATION IS AS FOLLOWS:

APPLICANT AGREES, AS PART OF THE CONSIDERATION FOR THE ISSUANCE OF THIS REPORT, THAT THE
COMPANY SHALL BE LIABLE TO APPLICANT UNDER THIS REPORT SOLELY BY REASON OF AN ERROR OR
OMISSION BY THE COMPANY IN FAILING TO SET FORTH THE OWNERSHIP OF AND DEFECTS, LIENS AND
ENCUMBRANCES AGAINST THE INTEREST IN THE LAND AS DISCLOSED BY THE TITLE INSTRUMENTS, WHICH
ERROR OR OMISSION BY THE COMPANY HAS CAUSED LOSS TO THE APPLICANT; AND THEN THE LIABILITY
SHALL BE A ONE-TIME PAYMENT TO APPLICANT OF FIVE THOUSAND DOLLARS ($5,000.00).

ACCORDINGLY, APPLICANT REQUESTS THAT THE REPORT BE ISSUED WITH THIS LIMITATION AS A PART OF THE
CONSIDERATION THAT APPLICANT GIVES THE COMPANY TO PREPARE AND ISSUE THE REPORT.

APPLICANT CERTIFIES THAT HE HAS READ AND UNDERSTOOD ALL OF THE TERMS, LIMITATIONS AND
CONDITIONS OF THIS APPLICATION.

         EXECUTED THIS __________ day of _________________________, ___________ .

                       (This Application must be signed by the Applicant or an agent representing the Applicant.)

         APPLICANT:                                                           MAILING ADDRESS:
                            Print or Type Name


                            Signature                                         Telephone
         AGENT FOR
         APPLICANT                                                            MAILING ADDRESS:
                            Print or Type Name


                            Signature                                         Telephone


Condition of Title Report
                  Case 22-10263-KBO           Doc 221-1        Filed 05/02/22        Page 109 of 115



                                        Fidelity National Title Insurance Company


                                                                          Title No.: AZ-FMPC-IMP-N/A-1-22-10007356

                                     CONDITION OF TITLE REPORT
                     Fidelity National Title Insurance Company, a Florida Corporation,
                                                herein called the Company,

SUBJECT TO THE TERMS, LIMITATIONS AND CONDITIONS OF THE APPLICATION FOR THIS CONDITION OF
TITLE REPORT, WHICH APPLICATION, OR COPY THEREOF, IS ATTACHED HERETO AND MADE A PART HEREOF

                                                        REPORTS

To the party named in Schedule A, that as disclosed by the Title Instruments, the ownership of and the defects liens and
encumbrances against the Interest in the Land are as shown in Schedule B.

Any claim or other notice to the Company shall be in writing and shall be addressed to the Company at the issuing office or
to:

                                 Fidelity National Title Insurance Company Claims Center
                                                        PO Box 45023
                                             Jacksonville, Florida, 32232-5023
                                                Attn: Claims Administration

THIS REPORT IS NOT VALID AND THE COMPANY SHALL HAVE NO LIABILITY HEREUNDER UNLESS THE
APPLICATION REFERRED TO ABOVE, OR COPY THEREOF, IS ATTACHED HERETO.


Countersigned by:




Authorized Signature




Condition of Title Report                                                                                            Page 1
                  Case 22-10263-KBO              Doc 221-1       Filed 05/02/22   Page 110 of 115
                                                                             Title No.: AZ-FMPC-IMP-N/A-1-22-10007356
                                                                                           Reference No.: FALCON FIELD


                                         CONDITION OF TITLE REPORT

                                                       SCHEDULE A

Fee:     $0.00
Date of Report: April 19, 2022 at 7:30 AM (First Amended)

1.       Name of Party:

         DLA PIPER, LLP

2.       The Interest referred to in the Application is:

         A FEE

3.       The Land referred to in the Application is described as follows:

         See Exhibit A attached hereto and made a part hereof.

Issuing agent for Fidelity National Title Insurance Company




Condition of Title Report                                                                                       Page 2
                  Case 22-10263-KBO   Doc 221-1   Filed 05/02/22   Page 111 of 115
                                                              Title No.: AZ-FMPC-IMP-N/A-1-22-10007356


                                          EXHIBIT A

                                      LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF MARICOPA, STATE OF
ARIZONA, AND IS DESCRIBED AS FOLLOWS:




APN: 141-36-001E




Condition of Title Report                                                                       Page 3
                  Case 22-10263-KBO              Doc 221-1        Filed 05/02/22         Page 112 of 115
                                                                                    Title No.: AZ-FMPC-IMP-N/A-1-22-10007356


                                         CONDITION OF TITLE REPORT

                                                        SCHEDULE B

Fidelity National Title Insurance Company reports that Title Instruments, on the date hereof, disclose:

1.       Ownership of the Interest is in the name of:

         City of Mesa, a municipal corporation as to Fee and MD HELICOPTERS, INC., an Arizona corporation as to any
         improvements and personal property

2.       The following defects, liens and encumbrances (which are not necessarily shown in their order of priority) against
         the Interest:

         1.        Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes to
                   be levied for the year 2022.

         2.        Reservations contained in the Patent

                   From:                        The United States of America
                   To:                          The Heirs of Ethel M. Dorman
                   Recording Date:              December 10, 1923
                   Recording No:                Book 179 of Deeds, page 504
                   (as to the East half of subject Section 3) and also

                   Reservations contained in the Patent

                   From:                       The United States of America
                   To:                         William S. Dorman
                   Recording Date:             December 10, 1923
                   Recording No:               Book 179 of Deeds, page 505
                   (as to the West half of subject Section 3)

                   Which among other things each recites as follows:

                   Subject to any vested and accrued water rights for mining, agricultural, manufacturing or other purposes
                   and rights to ditches and reservoirs used in connection with such water rights as may be recognized and
                   acknowledged by local customs, laws and decisions of courts. A right of way thereon for ditches or canals
                   constructed by the authority of the United States of America.

         3.        Covenants, conditions, restrictions and easements but omitting any covenants or restrictions, if any,
                   including but not limited to those based upon race, color, religion, sex, sexual orientation, familial status,
                   marital status, disability, handicap, national origin, ancestry, or source of income, gender, gender identity,
                   gender expression, medical condition or genetic information, as set forth in applicable state or federal laws,
                   except to the extent that said covenant or restriction is permitted by applicable law, as set forth in the
                   document

                   Recording No:              Docket 270, page 90

                   Modification(s) of said covenants, conditions and restrictions

                   Recording No:              Docket 5984, page 126




Condition of Title Report                                                                                                 Page 4
                  Case 22-10263-KBO             Doc 221-1          Filed 05/02/22       Page 113 of 115
                                                                                  Title No.: AZ-FMPC-IMP-N/A-1-22-10007356


                                                      SCHEDULE B
                                                         (Continued)

         4.        An unrecorded lease with certain terms, covenants, conditions and provisions set forth therein as disclosed
                   by the document

                   Entitled:                  Commercial Lease
                   Lessor:                    City of Mesa, a municipal corporation
                   Lessee:                    Hughes Helicopters, Inc., a Delaware corporation
                   Recording Date:            March 30, 1983
                   Recording No:              83-114683

                   Thereafter a Memorandum of Agreement

                   Recording Date:            March 28, 1985
                   Recording No:              85-135424 and Supplemental Agreement No. 1 dated June 29, 1992 and that
                                              certain Supplemental Agreement No. 2 dated June 25, 1996, as disclosed in
                                              Memorandum of Assignment and Assumption of Ground Lease recorded
                                              August 4, 2000 in XX-XXXXXXX

                   Assignment of the Lessee’s interest under said lease,

                   Assignor:                  McDONNELL DOUGLAS HELICOPTER COMPANY, a Delaware
                                              corporation, doing business as McDonnell Douglas Helicopter Systems
                   Assignee:                  MD HELICOPTERS, INC., an Arizona corporation and ECR-I, LLC., a
                                              Delaware limited liability company
                   Recording Date:            August 04, 2000
                   Recording No:              2000-0599026
                   Re-Recording Date:         October 05, 2000
                   Re-Recording No:           2000-0766411

                   Assignment of the Lessee’s interest under said lease,

                   Assignor:                  Woodgreen Power, LLC FKA as ECR-I, LLC., a Delaware limited liability
                                              company
                   Assignee:                  MD HELICOPTERS, INC., an Arizona corporation
                   Recording Date:            February 05, 2007
                   Recording No:              20070147407

         5.        Easement(s) for the purpose(s) shown below and rights incidental thereto as set forth in a document:

                   Purpose:                   Ingress and Egress
                   Recording Date:            March 30, 1983
                   Recording No:              83-114686

         6.        Easement(s) for the purpose(s) shown below and rights incidental thereto as set forth in a document:

                   Purpose:                   Ingress and Egress
                   Recording Date:            March 30, 1983
                   Recording No:              83-114687

         7.        Easement(s) for the purpose(s) shown below and rights incidental thereto as set forth in a document:

                   Purpose:                   Ingress and Egress
                   Recording Date:            March 30, 1983
                   Recording No:              83-114688


Condition of Title Report                                                                                                 Page 5
                  Case 22-10263-KBO             Doc 221-1           Filed 05/02/22        Page 114 of 115
                                                                                     Title No.: AZ-FMPC-IMP-N/A-1-22-10007356


                                                      SCHEDULE B
                                                         (Continued)

         8.        Easement(s) for the purpose(s) shown below and rights incidental thereto as set forth in a document:

                   Purpose:                  Ingress and Egress
                   Recording Date:           July 26, 1983
                   Recording No:             83-294420 and Assignment on
                   Recording Date:           November 09, 1983
                   Recording No:             83-453109

         9.        Easement(s) for the purpose(s) shown below and rights incidental thereto as set forth in a document:

                   Purpose:                  Public utilities, irrigation and incidental purposes
                   Recording Date:           January 16, 1986
                   Recording No:             86-023338

         10.       A resolution in favor of City of Mesa, Arizona

                   For:                      Authorization of Underground power easement
                   Recording Date:           July 07, 1997
                   Recording No:             XX-XXXXXXX

         11.       Easement(s) for the purpose(s) shown below and rights incidental thereto as set forth in a document:

                   Purpose:                  Right-of-Way
                   Recording Date:           August 04, 2000
                   Recording No:             2000-0599020

         12.       Matters contained in that certain document

                   Entitled:                 Falcon Field Airport Sound Contours and Primary Flight Track
                   Recording Date:           April 10, 2001
                   Recording No:             2001-0285395

                   Reference is hereby made to said document for full particulars.

         13.       Easement(s) for the purpose(s) shown below and rights incidental thereto as set forth in a document:

                   Purpose:                  Power distribution
                   Recording Date:           September 14, 2011
                   Recording No:             20110760926




                   2021 Tax Note:

                   Tax Parcel No:                     141-36-001E
                   Total Tax:                         Not assessed/Exempt




Condition of Title Report                                                                                                 Page 6
                  Case 22-10263-KBO            Doc 221-1        Filed 05/02/22        Page 115 of 115
                                                                                Title No.: AZ-FMPC-IMP-N/A-1-22-10007356


                                                    SCHEDULE B
                                                       (Continued)

3.       The following matters are disclosed by name only and the Company, without additional information, is unable to
         determine whether any or all of these matters are defects, liens or encumbrances against the Interest:

         14.       An abstract of judgment for the amount shown below and any other amounts due:

                   Amount:                  $14,724,084.50
                   Debtor:                  MD Helicopters, Inc., an Arizona corporation
                   Creditor:                The State of the Netherlands (Ministry of the Interior and Kingdom Relations,
                                            National Police Services Agency Agentschap KLPD, successor judgment
                                            creditor: Ministry of Security and Justice, Directorate-General Police), a foreign
                                            government
                   Date entered:            November 13, 2018
                   County:                  Maricopa
                   Court:                   Superior Court
                   Case No.:                CV2015-095127
                   Recording Date:          November 15, 2018
                   Recording No:            20180850166

                   Thereafter Final Judgment on Mandate along with Judgment Information Statement

                   Recording Date:          August 05, 2021
                   Recording No:            20210849172




Condition of Title Report                                                                                              Page 7
